

People v Broadus (2021 NY Slip Op 01705)





People v Broadus


2021 NY Slip Op 01705


Decided on March 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 19, 2021

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND DEJOSEPH, JJ. (Filed Mar. 19, 2021.) 


KA 19-00080.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMICHAEL BROADUS, JR., DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 [4th Dept 1979]). (Appeal from Judgment of Supreme Court, Erie County, Russell P. Buscaglia, A.J. - Criminal Contempt, 2nd Degree).








